Case 3:17-cv-01362 Document 1115-3 Filed 10/24/20 Page 1 of 2 PageID #: 37094




                   EXHIBIT D
Case 3:17-cv-01362 Document 1115-3 Filed 10/24/20 Page 2 of 2 PageID #: 37095




  Exhibit D – Excerpts of Plaintiffs’ Expert Witness A. Lembke Transcript of
  Deposition (Sept. 17, 2020)
  [FILED UNDER SEAL]


  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE MARKETING
  OPINIONS OF DRS. ANNA LEMBKE, KATHERINE KEYES, ANDREW KOLODNY, AND JAKKI
  MOHR




  2053825.1
